Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 1 of 6 PageID #: 467




                                        s/Nicholas G. Garaufis
Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 2 of 6 PageID #: 468
Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 3 of 6 PageID #: 469
Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 4 of 6 PageID #: 470
Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 5 of 6 PageID #: 471
Case 1:03-cr-00297-NGG   Document 304   Filed 05/06/05   Page 6 of 6 PageID #: 472
